                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                     UNITED STATES DISTRICT COURT                            May 19, 2025
                      SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk

                          HOUSTON DIVISION

Widmer Josneyder Agelviz-Sanguino,           )
et al.,                                      )
                                             )
       Plaintiffs,                           )
                                             )
       v.                                    )
                                             )        Cause No. 4:25-cv-02116
Kristi Noem,                                 )
Secretary, U.S. Department of                )
Homeland Security, et. al.                   )
                                             )
         Defendants.                         )
                                             )

      ORDER GRANTING PLAINTIFFS’ EMERGENCY MOTION

      Upon consideration of Plaintiff Widmer Josneyder Agelviz-Sanguino’s

(“Agelviz-Sanguino”) Emergency Motion (Dkt. No. 6) requesting

confirmation of Agelviz-Sanguino’s whereabouts and establishing access to

counsel, and after hearing arguments from both Plaintiffs and Defendants, the

Court hereby GRANTS the Motion as follows:

1. Confirmation of Agelviz-Sanguino’s Whereabouts

      a. Defendants shall, within 24 hours of this Order, file a declaration

            with the Court confirming the current location and health status of

            Agelviz-Sanguino, as well as the legal basis for his continued

            detention.


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2. Communication with Counsel

     a. Defendants shall, within 48 hours of this Order:

           i. Restore and help maintain attorney-client communication

              between Agelviz-Sanguino and his counsel.

           ii. Provide Plaintiffs’ counsel with direct contact information for

              the facility holding Agelviz-Sanguino, including a designated

              point of contact responsible for ensuring compliance with this

              Order.

          iii. File a report with the Court within 72 hours detailing the steps

              taken to comply with this Order, including any logistical

              arrangements made with El Salvadoran authorities.

     b. If Defendants claim an inability to facilitate communication due to

        lack of control over El Salvadoran facilities, they must:

           i. Set forth in a declaration all efforts made to secure

              cooperation, including through diplomatic or contractual

              channels.

           ii. Disclose all agreements or arrangements with El Salvador (or

              any agency or sub-division otherwise involved) related to

              Agelviz-Sanguino’s detention, including any memoranda of

              understanding with, or funding ties to CECOT.



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IT IS SO ORDERED.

SIGNED at Houston, Texas on this the 19th of May 2025




                                             KEITH P. ELLISON
                                             UNITED STATES DISTRICT JUDGE




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